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Questions? Go to our Web site at fedex.com. Call 1.800,Go0.FedEx 1.800.463.3339, 159396 REV 8/08 RRD

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